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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

MARINER IC INC.,                                §
                                                §
                                                §
               Plaintiff,                       §
                                                §
v.                                              §        CIVIL ACTION NO. 2:18-CV-00069-JRG
                                                §                  (LEAD CASE)
ASUSTEK COMPUTER INC.,                          §
                                                §
               Defendant.                       §




MARINER IC INC.,                                §
                                                §
                                                §
               Plaintiff,                       §
                                                §
v.                                              §        CIVIL ACTION NO. 2:18-CV-00166-JRG
                                                §                 (MEMBER CASE)
TIVO CORPORATION,                               §
                                                §
               Defendant.                       §

                                           ORDER

        Before the Court is Plaintiff Mariner IC Inc.’s (“Mariner”) and Defendant TiVo

Corporation’s (“TiVo”) Agreed Motion to Dismiss with Prejudice (the “Motion”). (Dkt. No. 64.)

Having considered the same, the Court is of the opinion that the Motion should be and hereby is

GRANTED.

        It is therefore ORDERED that all claims and counterclaims asserted in the above-stled

cases   between   Mariner   and   TiVo    are   hereby    DISMISSED     WITH     PREJUDICE.

Accordingly, all relief as to Mariner and TiVo not previously granted is hereby DENIED. It is
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further ORDERED that all attorneys’ fees and costs are to be borne by the party that incurred

them. The Clerk is directed to CLOSE Case No. 2:18-CV-00166.

      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 9th day of April, 2019.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE




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